Case 1:21-cr-00117-TFH Document 178-1 Filed 11/18/22 Page 1 of 2




        Attachment A
                Case 1:21-cr-00117-TFH Document 178-1 Filed 11/18/22 Page 2 of 2




From: Jonathan Gross <jon@clevengerfirm.com>
Sent: Friday, November 4, 2022 2:49 PM
To: Ward, Steven (NSD)
Cc: Joseph McBride <jmcbride@mcbridelawnyc.com>
Subject: [EXTERNAL] discovery for January 6th defendants

Mr. Ward,
Thank you for your assistance. Please forward this email to whoever it may concern.

I am requesting relativity.com and evidence.com access for myself and for Joseph McBride. We are
attorneys of record for
RYAN NICHOLS
CHRISTOPHER QUAGLIN
RICHARD BARNETT

Also, Mr. Nichols and Mr. Quaglin are both being held by the government in facilities that do not
provide access to relativity.com or to evidence.com
Therefore, the government will have to provide a way to download the discovery documents and files
onto a hard drive. Please let me know how that can be accomplished.

Time is of the essence, so please confirm that you receive this and that it is sent to the
appropriate parties by cc'ing me on the email that you send to the appropriate person.

Thank you,
Respectfully,
Jonathan Gross



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